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13
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14

15                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
16                                     SAN FRANCISCO DIVISION
17
     FEDERAL TRADE COMMISSION,
18
                     Plaintiff,
19
            v.                                        Case No. 3:23-cv-02880-SK
20
     MICROSOFT CORP.                                  PLAINTIFF FEDERAL TRADE
21                                                    COMMISSION’S ADMINISTRATIVE
     and                                              MOTION TO CONSIDER WHETHER
22
     ACTIVISION BLIZZARD, INC.,                       ANOTHER PARTY’S MATERIAL
23                                                    SHOULD BE SEALED
                     Defendants.
24

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     PLAINTIFF FEDERAL TRADE COMMISSION’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER
     ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
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             Pursuant to Civil Local Rules 7-11 and 79-5(f), Plaintiff, the Federal Trade Commission,
1

2    respectfully submits this Administrative Motion to Consider Whether Another Party’s Material

3    Should be Sealed in connection with Plaintiff’s Complaint for a Temporary Restraining Order

4    and Preliminary Injunction (attached hereto, hereinafter “Complaint”).
5
             Certain portions of Plaintiff’s Complaint contain information obtained from Microsoft
6
     Corporation (“Microsoft”), Activision Blizzard, Inc. (“Activision”), and NVIDIA Corporation
7
     (“Nvidia”), and Sony Interactive Entertainment (“Sony”) during the course of the FTC’s
8
     investigation regarding Microsoft’s proposed acquisition of Activision. Microsoft, Activision,
9

10   Nvidia, and SIE designated certain of this information as confidential pursuant to Section 21 of

11   the FTC Act, 15 U.S.C. § 57b-2. Other portions of the Complaint contain information that was
12   obtained during the course of litigation discovery in In the matter of Microsoft Corp. and
13
     Activision, Blizzard, Inc., before the United States of America Federal Trade Commission Office
14
     of Administrative Law Judges, Docket No. 9412, and that the producing party designated as
15
     Confidential pursuant to the Protective Order Governing Confidential Material entered on
16
     December 9, 2022 (“Administrative Protective Order”). Accordingly, Plaintiff seeks to file under
17

18   seal:

19     Document Portions to Be Filed Under Seal                             Designating Party
20     Complaint    Page 2, Portions of Line 9–10                           Microsoft, Activision
21
       Complaint    Page 3, Portions of Lines 10–11                         Microsoft, Activision
22
       Complaint    Page 3, Lines 13–18                                     Microsoft, Activision
23

24     Complaint    Page 5, Portion of Line 7                               Microsoft

25     Complaint    Page 5, Portion of Line 18                              Activision

26     Complaint    Page 5, Portion of Line 22                              Activision
27

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     PLAINTIFF FEDERAL TRADE COMMISSION’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER
     ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
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      Complaint   Page 7, Portion of Line 13                   Activision
1

2     Complaint   Page 11, Portions of Line 4                  Microsoft

3     Complaint   Page 11, Portions of Line 6                  Microsoft
4     Complaint   Page 12, Portion of Line 9                   Microsoft
5
      Complaint   Page 12, Portions of Line 12–13              Microsoft
6
      Complaint   Page 12, Portion of Line 14                  Microsoft
7
      Complaint   Page 12, Portion of Line 18                  Microsoft, Sony
8

9     Complaint   Page 15, Potions of Lines 16–19              Microsoft

10    Complaint   Page 15, Portion of Line 20                  Microsoft
11    Complaint   Page 15, Portions of Line 21–22              Microsoft
12
      Complaint   Page 15, Portions of Line 23                 Microsoft
13
      Complaint   Page 16, Portions of Line 10–11              Microsoft
14
      Complaint   Page 16, Portions of Line 12–13              Microsoft
15

16    Complaint   Page 16, Portions of Line 21                 Microsoft

17    Complaint   Page 16, Portions of Line 23                 Microsoft
18    Complaint   Page 16, Line 27–Page 17, Line 4             Microsoft
19
      Complaint   Page 17, Portions of Line 7–8                Microsoft
20
      Complaint   Page 17, Portions of Line 9–11               Microsoft
21
      Complaint   Page 17, Portions of Line 12–14              Microsoft
22

23    Complaint   Page 17, Portions of Line 18–19              Microsoft

24    Complaint   Page 17, Portions of Line 25–26              Microsoft
25
      Complaint   Page 18, Lines 2–3                           Microsoft
26
      Complaint   Page 18, Portions of Line 4–6                Microsoft
27

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     PLAINTIFF FEDERAL TRADE COMMISSION’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER
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      Complaint   Page 18, Portions of Line 13                 Activision
1

2     Complaint   Page 18, Portions of Line 15                 Activision

3     Complaint   Page 18, Portion of Line 16                  Microsoft, Activision
4     Complaint   Page 18, Portion of Line 17                  Activision
5
      Complaint   Page 18, Line 19–21                          Activision
6
      Complaint   Page 20, Portion of Line 17                  Sony
7
      Complaint   Page 20, Portions of Line 20–21              Nintendo
8

9     Complaint   Page 21, Portion of Line 2                   Microsoft, Sony

10    Complaint   Page 21, Portions of Lines 10–12             Microsoft
11    Complaint   Page 21, Portions of Lines 12–13             Microsoft, Activision
12
      Complaint   Page 21, Portions of Lines 21–22             Microsoft, Activision,
13
                                                               Nintendo
14
      Complaint   Page 23, Portions of Lines 9–10              Microsoft
15

16    Complaint   Page 23, Line 11                             Microsoft

17    Complaint   Page 23, Portions of Lines 12–14             Microsoft
18    Complaint   Page 23, Portions of Lines 14–15             Microsoft
19
      Complaint   Page 23, Portions of Lines 21–22             Microsoft
20
      Complaint   Page 25, Portion of Line 11                  Microsoft
21
      Complaint   Page 25, Portions of Lines 14–16             Microsoft
22

23    Complaint   Page 25, Portions of Lines 17–18             Microsoft

24    Complaint   Page 25, Lines 19–23                         Microsoft
25    Complaint   Page 26, Portions of Lines 1–2               Microsoft
26
      Complaint   Page 26, Portion of Line 13                  Microsoft
27

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     PLAINTIFF FEDERAL TRADE COMMISSION’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER
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      Complaint   Page 26, Portions of Lines 14–15             Microsoft
1

2     Complaint   Page 26, Portions of Lines 16–17             Microsoft

3     Complaint   Page 26, Portions of Lines 18–19             Microsoft
4     Complaint   Page 26, Portions of Lines 21–22             Microsoft
5
      Complaint   Page 26, Portion of Line 25                  Microsoft
6
      Complaint   Page 28, Portion of Line 6                   Microsoft
7
      Complaint   Page 28, Lines 8–10                          Microsoft
8

9     Complaint   Page 28, Portion of Line 11                  Microsoft

10    Complaint   Page 28, Portions of Lines 13–15             Microsoft
11    Complaint   Page 28, Portions of Lines 16–17             Microsoft
12
      Complaint   Page 28, Portions of Lines 19–21             Microsoft, Activision
13
      Complaint   Page 28, Portions of Lines 22–23             Microsoft
14
      Complaint   Page 29, Portions of Lines 14–16             Sony
15

16    Complaint   Page 29, Portion of Line 20                  Nvidia

17    Complaint   Page 29, Portions of Lines 21–24             Nvidia
18    Complaint   Page 30, Portion of Line 18                  Activision, Nvidia
19
      Complaint   Page 30, Lines 19–22                         Activision, Nvidia
20
      Complaint   Page 30, Portion of Line 26                  Sony
21
      Complaint   Page 30, Line 27– Page 31, Line 4            Nvidia
22

23    Complaint   Page 31, Portions of Lines 7–9               Microsoft

24    Complaint   Page 31, Portion of Line 14                  Microsoft
25
      Complaint   Page 31, Portion of Line 15                  Microsoft
26
      Complaint   Page 31, Portion of Line 26                  Microsoft, Activision
27

28
     PLAINTIFF FEDERAL TRADE COMMISSION’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER
     ANOTHER PARTY’S MATERIAL SHOULD BE SEALED
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       Complaint    Page 32, Portions of Lines 5–6                          Microsoft
1

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3           Materials and documents may be provisionally filed under seal pursuant to Civil Local

4    Rule 79-5(f) when the document, or portions thereof, “has been designated as confidential by
5
     another party or non-party.” L.R. 79-5(f). Plaintiff has redacted the above-referenced yellow-
6
     highlighted portions of its Complaint because Microsoft or Activision has designated the
7
     information contained therein as confidential pursuant to Section 21 of the FTC Act, 15 U.S.C. §
8
     57b-2, and/or as Confidential pursuant to the Administrative Proceeding Protective Order.
9

10   Plaintiff has redacted the above-referenced green-highlighted portions of its Complaint because

11   Nvidia has designated information contained therein as confidential pursuant to Section 21 of the
12   FTC Act, 15 U.S.C. § 57b-2, and/or as Confidential pursuant to the Administrative Proceeding
13
     Protective Order. Plaintiffs has redacted the above-referenced blue-highlighted portions of tis
14
     complaint because Sony has designated information contained therein as confidential pursuant to
15
     Section 21 of the FTC Act, 15 U.S.C. § 57b-2, and/or as Confidential pursuant to the
16

17   Administrative Proceeding Protective Order. Plaintiffs has redacted the above-referenced pink-

18   highlighted portions of tis complaint because Nintendo has designated information contained

19   therein as confidential pursuant to Section 21 of the FTC Act, 15 U.S.C. § 57b-2, and/or as
20   Confidential pursuant to the Administrative Proceeding Protective Order. Plaintiff takes no
21
     position on the merits of sealing Microsoft’s, Activision’s, and non-parties’ designated material.
22
            In compliance with Civil Local Rule 79-5(d), the unredacted version of the Complaint
23
     accompanies this Administrative Motion. In accordance with Local Rule 7-11, Plaintiff has also
24

25   filed a Proposed Order herewith.

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     PLAINTIFF FEDERAL TRADE COMMISSION’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER
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     Dated: June 12, 2023                       Respectfully Submitted,
1
                                                /s/ James Weingarten
2                                               James H. Weingarten
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16                                              Commission

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     PLAINTIFF FEDERAL TRADE COMMISSION’S ADMINISTRATIVE MOTION TO CONSIDER WHETHER
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